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WEST ep, COURT !
UNITED STATES DISTRICT COURT Peri roo TT CLERK
WESTERN DISTRICT OF KENTUCKY  9& Noy. | PH 2
AT LOUISVILLE WRG
THE HONORABLE ORDER OF )
KENTUCKY COLONELS )
)
PLAINTIFF )
)
v. CIVIL ACTION NO. 3:04CV-465-H
BUILDING CHAMPIONS, LLC d/b/a/ +)
KENTUCKY COLONELS )
BASKETBALL )
DEFENDANT

PLAINTIFF’S ANSWER TO DEFENDANT’S COUNTERCLAIM

Comes the Plaintiff, The Honorable Order of Kentucky Colonels, Inc.
(“the Kentucky Colonels”), by and through counsel, and for its Answer to Defendant,
Building Champions, LLC, d/b/a Kentucky Colonels Basketball’s (“Building

Champions”), Counterclaim states as follows:

FIRST DEFENSE
1, The Kentucky Colonels admit the allegations contained in paragraph 1 of
the Counterclaim.
2. The Kentucky Colonels admit the allegations contained in paragraph 2 of

the Counterclaim.

3. The Kentucky Colonels admit the allegations contained in paragraph 3 of

the Counterclaim.

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4. The Kentucky Colonels admit the allegations contained in paragraph 4 of

the Counterclaim.

5. The Kentucky Colonels admit the allegations contained in paragraph 5 of

the Counterclaim.

6. The Kentucky Colonels admit the allegations contained in paragraph 6 of

the Counterclaim.

7. The Kentucky Colonels admit the allegations contained in paragraph 7 of

the Counterclaim.

8. The Kentucky Colonels admit the allegations contained in paragraph 8 of

the Counterclaim.

9. The Kentucky Colonels admit the allegations contained in paragraph 9 of

the Counterclaim.

10. In response to the allegations contained in paragraph 10 of the
Counterclaim, the Kentucky Colonels admit that direct references to its charitable
organization were displayed on some, but not all, of the specimens of use submitted to
the United States Patent & Trademark Office (“USPTO”) with its trademark application

for KENTUCKY COLONELS for the items delineated in Registration No. 2, 812, 681.

11. In response to the allegations contained in paragraph 11 of the

Counterclaim, the Kentucky Colonels admit that all proceeds from merchandise sold

bearing the KENTUCKY COLONELS mark are used to benefit its charitable work. The

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Kentucky Colonels deny the remaining allegations or insinuations contained in paragraph

11 of the Counterclaim.

12. The Kentucky Colonels admit the allegations contained in paragraph 12 of

the Counterclaim,

13. With respect to the allegations contained in paragraph 13 of the
Counterclaim, the Kentucky Colonels adopt and incorporate by reference their previous

responses and defenses set forth herein.

14.‘ The Kentucky Colonels deny the allegations contained in paragraph 14 of

the Counterclaim.

15, |The Kentucky Colonels deny the allegations contained in paragraph 15 of

the Counterclaim.

16. The Kentucky Colonels deny the allegations contained in paragraph 16 of

the Counterclaim.

17. The Kentucky Colonels deny the allegations contained in paragraph 17 of

the Counterclaim.

18. The Kentucky Colonels deny the allegations contained in paragraph 18 of

the Counterclaim.

19. The Kentucky Colonels deny all allegations not specifically admitted

herein.

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SECOND DEFENSE

20. Building Champions’ Counterclaim fails to state a claim upon which relief

may be granted.

THIRD DEFENSE

21. Building Champions’ Counterclaim is barred by the equitable doctrines of

laches, waiver, estoppel and acquiescence.

FOURTH DEFENSE

22. Building Champions’ Counterclaim is barred in whole or in part by

Building Champions’ unclean hands and/or misuse of the Kentucky Colonels’ trademark.

FIFTH DEFENSE

23. The Kentucky Colonels’ conduct was not the cause im fact or the

proximate cause of damages alleged by Building Champions.

SIXTH DEFENSE

24. Kentucky Colonels reserve the right to assert additional affirmative

defenses as they become known.

WHEREFORE, Plaintiff demands that Defendant’s Counterclaim be
dismissed with prejudice; that the Plaintiff have and recover a judgment against

Defendant and relief as requested in its Verified Complaint, that it recover its costs

herein; and for further relief as the Court may deem just and proper.

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Respectfully submitted,

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Counsel for Plaintiff, The Honorable
Order of Kentucky Colonels, Inc.

CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing has been
served upon the following, by U. S. mail, first class, postage prepaid, on this the 1* day

of November, 2004:

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